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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                            Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


                   PLAINTIFFS’ NOTICE OF FILING
                REBUTTAL DEPOSITION DESIGNATIONS

      Plaintiffs jointly submit the attached deposition designations, which were

identified for Defendants on January 29,, 2024, as rebuttal testimony and as

addressed in court on January 31, 2024.

      Respectfully submitted this 31st day of January, 2024.

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      Case 1:17-cv-02989-AT Document 1808 Filed 01/31/24 Page 2 of 4




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              IN THE UNITED STATES DISTRICT COURT
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DONNA CURLING, ET AL.,
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v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.

                     CERTIFICATE OF COMPLIANCE

      Pursuant to LR 7.1(D), I hereby certify that the foregoing document has been

prepared in accordance with the font type and margin requirements of LR 5.1, using

font type of Times New Roman and a point size of 14.

                                            /s/ David D. Cross
                                            David D. Cross




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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DONNA CURLING, ET AL.,
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v.

BRAD RAFFENSPERGER , ET AL.,
Defendants.

                        CERTIFICATE OF SERVICE

      I hereby certify that on January 31, 2024, a copy of the foregoing

PLAINTIFFS’ NOTICE OF FILING REBUTTAL DEPOSITION

DESIGNATIONS was electronically filed with the Clerk of Court using the

CM/ECF system, which will automatically send notification of such filing to all

attorneys of record.

                                             /s/ David D. Cross
                                             David D. Cross




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